
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-1085                                ALI ABDULLAH, ET AL.,                               Plaintiffs, Appellants,                                          v.                                ACANDS, INC., ET AL.,                                Defendants, Appellees.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                       [Hon. Rya W. Zobel, U.S. District Judge]                                           ___________________                                 ____________________                                        Before                               Torruella, Circuit Judge,                                          _____________                           Campbell, Senior Circuit Judge,                                     ____________________                             and Carter,* District Judge.                                          ______________                                 ____________________            Donald A.  Krispin  with  whom  Leonard  C.  Jaques  and  Maritime            __________________              ___________________       ________        Asbestosis  Legal Clinic, a Division of The Jaques Admiralty Law Firm,        ______________________________________________________________________        P.C. were on brief for appellants.        ____            Lawrence G. Cetrulo with whom Maureen  E. Kane, Peabody &amp;  Arnold,            ___________________           ________________  _________________        Marc  L. Fleischaker,  Donald C.  McLean,  Lawrence E.  Blatnik, Peder        ____________________   _________________   ____________________  _____        Magee,  Arent  Fox Kintner  Plotkin  &amp; Kahn,  A.  Bernard Guekguezian,        _____   ___________________________________   _______________________        Taylor,  Anderson  &amp; Travers,  Laurie S.  Gill,  Palmer &amp;  Dodge, Lisa        ____________________________   _______________   _______________  ____        Arrowood,  Todd  &amp; Weld,  Harold M.  Walter,  Tydings &amp;  Rosenberg, R.        ________   ____________   _________________   ____________________  __        Cornelius  Danaher, Jr.,  Nancy K. Roux,  Danaher, Tedford,  Lagnese &amp;        _______________________   _____________   ____________________________        Neal, Joel F. Pierce, Judith A. Perritano, Morrison, Mahoney &amp; Miller,        ____  ______________  ___________________  __________________________        Francis  M.  Lynch,  LeComte,  Emanuelson, Tick  &amp;  Doyle,  Andrew  M.        __________________   ____________________________________   __________        Higgins,  Casner  &amp;  Edwards,  John  Herlihy,  Herlihy  &amp;  Associates,        _______   __________________   _____________   ______________________        Christopher  M. Browne,  Doherty, Wallace,  Pillsbury &amp;  Murphy, P.C.,        ______________________   ____________________________________________        Francis  B. Sally, Thomas P. Billings, Sally &amp; Fitch, Robert F. O'Day,        _________________  __________________  _____________  _______________        Law Office  of Robert F. O'Day,  Paul E. Dwyer, Jr.,  Tucker, Biegel &amp;        ______________________________   __________________   ________________        Goldstein, Peter J. Rubin,  Diane S. Lukac, Bernstein, Shur,  Sawyer &amp;        _________  ______________   ______________  __________________________        Nelson,  George  W. Noone,  Avery, Dooley,  Post  &amp; Avery,  Stephen A.        ______   ________________   _____________________________   __________        Hopkins, Sherburne, Powers &amp; Needham,  Robert J. Sherer, Roche, Carens        _______  ___________________________   ________________  _____________        &amp;  DeGiacomo,  Charlene Androse,  Warner  &amp;  Stackpole, Ann  O'Malley,        ____________   ________________   ____________________  _____________        Johnson,  O'Malley &amp;  Harvey,  Michael D.  Chefitz, Gilberg,  Kurent &amp;        ____________________________   ___________________  __________________        Kiernan, David M. Governo,  Kirby &amp; Governo, Gregg L.  Spyridon, Paula        _______  ________________   _______________  __________________  _____        W.  Wellons,  Hoffman,  Sutterfield,  Ensenat  &amp;  Bankston,  James  M.        ___________   ____________________________________________   _________        Campbell,  Campbell  &amp; Associates,  William  S.  Eggeling, Jeffrey  P.        ________   ______________________   _____________________  ___________        Trout,  Ropes &amp;  Gray, Leo  F. Roach,  Jr., Roche,  Heifetz, Murphy  &amp;        _____   _____________  ___________________  __________________________        Wholley, Robert McGuire, Nancy  McDonald, McElroy, Deutsch &amp; Mulvaney,        _______  ______________  _______________  ___________________________        Michael  B. Weinberg,  John  A. Donovan,  Jr., Joni  F. Katz,  Burns &amp;        ____________________   ______________________  _____________   _______        Levinson,  Jessica  H.  Kish,  Gallagher &amp;  Gallagher,  P.C.,  Carolyn        ________   _________________   _____________________________   _______        Sullivan,  Melick  &amp; Porter,  Richard L.  Edwards, William  P. Marsan,        ________   ________________   ___________________  __________________        Campbell  &amp; Associates, Daniel S. McInnis, John C. Cogavin and Cogavin        ______________________  _________________  _______________     _______        &amp; Waystack  were on brief for appellees.         __________                                 ____________________                                    August 1, 1994                                 ____________________        _____________________        *Of the District of Maine, sitting by designation.                       CARTER, Chief District Judge.                       Appellants Ali  Abdullah, et  al., appeal from  an                                                 __  ___             order  dismissing  their  1000-plaintiff   and  93-defendant             complaint with prejudice  for failure to  adhere to a  court             order  requiring   them   to  refile   separate   complaints             conforming to  Local Rules of the  District of Massachusetts             governing joinder  and specificity of  pleading in  asbestos             litigation  and alleging an adequate basis for jurisdiction.             Because  we  find  that the  trial  judge  acted  within her             discretion in dismissing  Appellants' action with  prejudice             pursuant to Fed. R. Civ. P. 41(b), we affirm.                                I.  PROCEDURAL BACKGROUND                              I.  PROCEDURAL BACKGROUND                              _________________________                       Appellants filed an initial  complaint on July 23,             1993, in United  States District  Court in  the District  of             Massachusetts,  followed  by an  amended complaint  filed on             August  20,  1993.    The  amended   complaint  (hereinafter             "Complaint") was filed on  behalf of 1000 plaintiffs against             93 defendants with  the first twenty pages  listing only the             names and social security numbers of plaintiffs, followed by             two  pages  listing the  names  only  of  defendants.    The             remaining  four  and  one-half  pages  encompass Appellants'             basic claims and allege, in summation, the following:                                         -3-                                         -3-                       (a)  paragraphs 1 and 2 allege that                            the  action  is brought  under                            Fed. R. Civ.  P. 20  governing                            joinder of parties  and is  an                            admiralty and  maritime action                            within the meaning of  Fed. R.                            Civ. P. 9(h);                        (b)  paragraph   4   alleges   that                            defendants           designed,                            manufactured,    or   supplied                            asbestos     and     asbestos-                            containing     products     or                            machinery  for   placement  on                            vessels upon  which plaintiffs                            or    plaintiffs'    decedents                            served as crewmembers;                        (c)  paragraph 5 alleges that  as a                            direct and proximate result of                            exposure  to   such  products,                            plaintiffs    have    suffered                            asbestos-related diseases;                        (d)  paragraph 6  alleges that each                            defendant negligently designed                            and      manufactured     such                            products, failed to adequately                            warn  of  the hazards  of such                            products,   and  committed   a                            breach of  implied warranty of                            fitness   of  the   respective                            products  for  their  intended                            use;                       (e)  paragraph   7   alleges   that                            defendants committed acts  and                            omissions constituting willful                            and  wanton disregard  for the                            safety of those  who would  be                            exposed to  their products and                            should be  subject to punitive                            damages;                       (f)  paragraph  8 alleges  that due                            to      defendants'      acts,                                         -4-                                         -4-                            plaintiffs    have   sustained                            damages   including  loss   of                            earnings and earning capacity,                            pain and suffering,  exemplary                            and punitive damages, and loss                            of   support,    society   and                            companionship.             See Complaint (Docket No. 83) at 21-25.              ___                       From the  time the  Complaint was filed  until its             dismissal  on   January  5,  1994,   over  twenty  Appellee-             defendants filed motions to dismiss and motions for issuance             of a show cause  order.  These motions, to  which Appellants             never  responded, challenged  the Complaint  on a  number of             grounds, including  failure  to provide  sufficient  factual             information to  put defendants on  notice of the  claims and             improper joinder.                         On September  24, 1993, the trial  judge issued an             order directing  Appellants' counsel  to show cause  why the             action should proceed.   The order stated that the Complaint             presents  "serious   questions   regarding  not   only   the             jurisdiction of  this Court but  whether this Court  has any             connection  with  the  claims  and whether  there  has  been             compliance  with  the  Federal  Rules  of Civil  Procedure."             Order  to Show  Cause  (Docket No. 124)  at  1.   The  order             indicated  that Appellants' counsel should appear before the             court on October 27, 1993, and present the factual and legal                                         -5-                                         -5-             basis for, inter alia,  the contention that the  parties are                        _____ ____             properly joined pursuant to Fed. R. Civ. P. 20.  Id. at 2.                                                              ___                       At  the   show-cause  hearing,  the   trial  judge             indicated that she was "very disturbed about the joinder  of             1000 plaintiffs  and 93 defendants without  any statement of             fact about how they belong together in a case of this sort."             Hearing Transcript (Tr.)(October 27, 1993) at 141.  She also             indicated  her  concern  that  a  number  of  issues  to  be             litigated -- such as identification of the products to which             each  plaintiff was exposed, causation, and damages -- would             involve  individual  determinations  with  respect  to  each             plaintiff, militating against joinder.  Id. at 8-10.                                                       ___                       The court further indicated that the Complaint had             not  been filed  in  accordance with  Local Rules  governing             joinder  and  specificity of pleading  in asbestos cases set             out  in Massachusetts  Multiple  Litigation Orders  3 and  4             ("MML Orders 3 and  4).1  See In re:  Massachusetts Asbestos                                       ___ ______________________________                                              ____________________                  1MML Orders 3 and 4 place limits on joinder and require             complaints to  indicate, to the extent  possible, "the dates             of  alleged exposure," "the  names of  plaintiffs' employers             and  the  dates  of   employment  where  such  exposure  has             occurred."  MML Order 3 at VIII (2).  MML Orders 3 and 4 are             applicable  to all asbestos  cases filed in  the District of             Massachusetts "except  as otherwise  directed  by the  Court             upon motion and for cause shown by the party seeking to have             [the  Orders] declared inapplicable."  MML Orders 3 and 4 at             II.                                         -6-                                         -6-             Cases,  Pretrial  Order No.  3, (June  3,  1981) and  In re:             _____                                                 ______             Massachusetts   Asbestos  Cases,   Pretrial  Order   No.  4,             _______________________________             (December  14, 1984).   Appellants'  counsel told  the court             that the case was in the process of being transferred by the             Judicial  Panel on  Multidistrict Litigation  ("MDL Panel")2             and  stated that  "this  court and  all federal  courts with             regard to the asbestos litigation, is a conduit court."  Tr.             at 23.  Counsel further indicated that he was subject to MDL             rules  only and  not  the Local  Rules  of the  District  of                    ____             Massachusetts, stating that:                            I am saying that this  is MDL.                            This is not  Local Rules.   We                            are not bound by  Local Rules,                            and  you  should not  perceive                            this.  MDL states specifically                            that  you  don't even  have to                            plead anything,  just a few --                             just a few sparse paragraphs,                                              ____________________                  2In re:   Asbestos  Products Liability Litigation,  771                   ________________________________________________             F. Supp. 415 (J.P.M.L. 1991), the  MDL Panel issued an order             transferring  all  pending asbestos-related  personal injury             and wrongful  death cases  filed  in federal  courts to  the             District  Court for  the Eastern  District of  Pennsylvania,             assigning them  to Judge  Charles R. Weiner  for coordinated             pretrial proceedings.                       Asbestos-related  cases  filed  in federal  courts             after this order was issued may be certified for transfer by             the MDL Panel pursuant to 28 U.S.C.   1407 and in accordance             with  the  Rules  of  Procedure  of  the Judicial  Panel  on             Multidistrict  Litigation, 147  F.R.D. 589  (J.P.M.L. 1993).             At the  time of the show-cause hearing, Appellants' case was             subject to  a conditional transfer  order issued by  the MDL             Panel.                                         -7-                                         -7-                            and    that's    all    that's                            required.  You  do not have to                            go into detail, and the detail                            counsel suggests is unheard of                            anywhere, and we are not bound                            by  your  Local   Rules.     I                            wouldn't come here to be bound                            by your Local Rules.                              We  understand  that  here  in                            this  jurisdiction,   when  in                            this  jurisdiction,  that  the                            cases  stood  here, and  stood                            here for many, many years, and                            nothing happened to it.   So I                            certainly  wouldn't  come here                            to  be  bound  by  your  Local                            Rules . . . And so I am saying                            to you, your Honor,  these are                            MDL cases.  They  don't belong                            here.    This  is   a  conduit                            court.   We  are not  bound by                            your  Local Rules  with regard                            to pretrials or anything else,                            and  that  everything  that  I                            have  indicated  to  you  with                            respect  to  the propriety  of                            the filing, I stand on.             Tr. at 40-41.                         After hearing  from Appellees' counsel,  the court             determined  that plaintiffs  and defendants  were improperly             joined in the Complaint, that the Complaint failed to allege             a factual  basis for the court's  exercise of subject-matter             and personal  jurisdiction, and failed to  comply with Local             Rules, MML  Orders  3 and  4, which  require that  asbestos-             related complaints  recite minimal facts  and be filed  in a             particular form.  Id. at 42-43.  The  court then ordered the                               ___                                         -8-                                         -8-             Complaint to be "dismissed without prejudice to the refiling                                        _______             of separate complaints on behalf of each plaintiff (emphasis             added)"  correcting   the  deficiencies  noted   during  the             hearing.  Id. at 43.                            ___                       Appellants'   counsel    objected   to   immediate             dismissal, indicating that an unknown number  of plaintiffs'             claims might  be barred by relevant  statutes of limitation.             The  court then asked counsel how much time he would need to             refile individual complaints in compliance with Local Rules,             and counsel responded,  "Well, we are  very busy, but  sixty             days."  Id. at  44.  Appellees' counsel then  requested that                     ___             if  the  court  was planning  to  set  a  specific date  for             refiling, dismissal  for failure to adhere  to that deadline             should be with prejudice and on the merits, explaining that:                            to   the   extent   that   new                            complaints  are  not filed  on                            behalf  of the  plaintiffs who                            came in to  Court here, and as                            to  whom  I forbore  on asking                            for Rule 11 sanctions, I think                            the appropriate requirement to                            put  on this is  that if there                            is   no  refiling,   that  the                            dismissals that result be with                            prejudice  and  on the  merits                            for   the    reason   that   a                            representation has  been made,                            and then no action pursuant to                            your  order  is  taken, and  I                            think that  the dismissal with                            prejudice and on the merits is                                         -9-                                         -9-                            a  fair fall  out of  that, of                            that circumstance.             Id. at 45.               ___                       The  court indicated  its agreement,  stating that             since Appellants'  counsel has  "chosen to file  an improper             [Complaint] on behalf of  1000 plaintiffs," he now  has "the             option  of filing proper Complaints on behalf of each one of             the  1000 plaintiffs.  To the extent that [he] choose[s] not             to file on behalf  of anyone of these named  plaintiffs, any             claim by  the plaintiff . . . will  be dismissed in  60 days             with  prejudice."  Id.  at 46.   The court then  amended its                                ___             order to read as follows:                            The   order   is   that   this                            Complaint will be dismissed in                            sixty  days  from  this  date.                            Without prejudice with respect                            to   any  plaintiff   who  has                            refiled   a   Complaint   that                            accords  with pretrial  orders                            numbers three and four, and to                            the  extent  that it  seeks to                            invoke       the      maritime                            jurisdiction,        admiralty                            jurisdiction  of  this  Court,                            that it also sets  forth facts                            that  support  that.   To  the                            extent that any plaintiff does                            not  refile, that  plaintiff's                            claim   is   dismissed    with                            prejudice, and  your objection                            is noted.  You have a right to                            appeal from this order.             Id. at 47 ("October Order").             ___                                         -10-                                         -10-                       Appellants' counsel did not file new complaints on             behalf of any plaintiff.   Two days before the  deadline set             in the October Order, he filed  a motion "to extend time  an             additional  sixty  (60)  days   to  evaluate  legal  options             pertaining to this cause."   Docket No. 183 (Dec. 23, 1993).             The judge  dismissed the motion,  finding that  it had  been             improperly filed because counsel  failed to make and certify             service   on  opposing   counsel  pursuant  to   Local  Rule             5.2(B)(2).   Docket No. 183-1 (Jan. 5, 1994).  Following two             requests  for  dismissal  filed by  Appellees'  counsel  for             failure  to adhere to  the court's October  Order, the judge             entered   the   following   order   dismissing   Appellants'             Complaint:                            IT  IS  ORDERED AND  ADJUDGED,                            After a hearing on the Court's                            Order  to  Show Cause,  and in                            light  of plaintiffs'  failure                            to  refile  1,000   individual                            complaints  within sixty  days                            in accordance with the Court's                            Order  of  October  27,  1993,                            plaintiffs'     claims     are                            dismissed with  prejudice, and                            judgment   shall   enter   for                            defendants.             Docket No. 185 (Jan. 5, 1994)("January Order").                                         -11-                                         -11-                                   II.  DISCUSSION                                   II.  DISCUSSION                                   _______________                       Appellants  challenge  the  court's  dismissal  of             their  Complaint with  prejudice on  several grounds.   They             argue primarily  that the  dismissal of their  Complaint was             based on a finding of improper joinder and that Fed. R. Civ.             P. 21  unequivocally states "[m]isjoinder of  parties is not             ground  for dismissal  of an  action."3   Furthermore, given             the  explicit  wording of  Rule  21,  Appellants argue  that             dismissal with prejudice on the grounds of misjoinder was an             abuse of discretion.4                                                ____________________                  3Rule 21 states that:                            Misjoinder  of parties  is not                            ground  for  dismissal  of  an                            action.      Parties  may   be                            dropped or added  by order  of                            the  court  on  motion of  any                            party or on its own initiative                            at any stage of the action and                            on  such  terms  as are  just.                            Any claim against a  party may                            be severed  and proceeded with                            separately.             Fed. R. Civ. P. 21.                  4Appellants  also  allege  that Massachusetts  Multiple             Litigation  Orders  3  and 4  ("MML  Orders  3  and 4")  are             inconsistent  with Fed.  R. Civ.  P. 20  and 8(a)  governing             joinder  and pleading  requirements and  should be  declared             invalid.    However,  Appellants  failed  to  challenge  the             substance of  these rules  to the  court  below, other  than             erroneously  asserting  that Local  Rules  do  not apply  to             asbestos-related cases (see n. 7, infra), nor did they avail                                               _____                                         -12-                                         -12-                       We   reject  Appellants'  attempt  to  reduce  the             grounds  for the January Order to the misjoinder issue only.             We note in passing, however,  our agreement with the court's             determination  that  the  Complaint failed  to  satisfy  the             prerequisites for joinder  pursuant to Fed. R.  Civ. P. 20.5                                              ____________________             themselves  of the provisions in MML Orders 3 and 4 allowing             them to show good cause as to why the Local Rules should not             apply to their action.  Hence, they have waived these issues             on appeal.                    5Appellants' Complaint  fails to satisfy  the threshold             requirement of Fed.R. Civ. P.  20 that the plaintiffs' claim             for relief  arise out of "the  same transaction, occurrence,             or series of transactions or occurrences."  The Complaint is             bereft of factual allegations indicating why 1000 plaintiffs             and 93 defendants belong  in the same action.   It gives  no             indication of whether plaintiffs were  injured while serving             on  the same  vessels or  during the  same time  periods; no             indication of  whether they were injured by  exposure to the             same  asbestos-containing  products  or equipment,  nor  any             specification  of the  products or  equipment to  which they             were exposed.                       This Court notes that Appellants' counsel has been             unsuccessful in his attempts to file nearly identical claims             in  other United States District Courts.  With regard to the             joinder issue, a court in the District of Maryland wrote:                            It is plain to this Court that                            the 1,000  plaintiffs' claims,                            set  forth  in this  complaint                            simply as a skeleton  claim of                            maritime exposure to asbestos,                            without    any    attempt   at                            individualization           or                            description of  the particular                            circumstances and exposures of                            the individual plaintiffs, let                            alone   the  products   and/or                            defendants  alleged  to   have                                         -13-                                         -13-             We also note that failure to  allege a basis for joinder was             only  one of the many weaknesses identified by the court and                              ____             opposing  counsel  when  faced with  this  unwieldy  action.             Among  other things,  the  Complaint failed  to comply  with             Local  Rules governing  the  filing of  asbestos claims  and             failed to  provide  a  short  and plain  statement  of  each             plaintiff's claims sufficient to place defendants on  notice             of  the nature of the action against them as required by the             Local Rules and Fed. R. Civ. P. 8(a).6                                                ____________________                            been   responsible,   do   not                            satisfy the  `same transaction                            or occurrence' test of Fed. R.                            Civ. P. 20(a).             Aaberg v. ACandS, Inc., 152 F.R.D. 498, 500 (D. Md. 1994).             ______________________                  6 With respect to the  Complaint's failure to adhere to             Fed. R. Civ. P. 8(a), we join in the reasoning of the Aaberg                                                                   ______             court,  which  faced  a  nearly  identical  claim  filed  by             Appellants'  counsel.   After dismissing  all but  the named             plaintiff  for improper  joinder,  the  court  proceeded  to             dismiss the claim as to  the remaining plaintiff for failure             to state a claim under Fed. R. Civ. P. 8(a), noting that:                            This   is   not   a   pro   se                                                  ___   __                            complaint,  but,  rather,  one                            filed   by  counsel,   and  it                            involves    only    reasonable                            expectations of  competence to                            require  that  a complaint  at                            least identify some or  all of                            the voyages  undertaken by the                            plaintiff during  which he was                            allegedly exposed  to asbestos                            and the specific products (and                            manufacturers     of     those                                         -14-                                         -14-                       Rather  than dismissal for misjoinder, the January             Order is  more appropriately viewed as  a dismissal pursuant             to  Fed. R.  Civ. P.  41(b) on  the grounds  that Appellants             failed to comply  with the October  Order, the Local  Rules,             and  the  Federal Rules  of  Civil  Procedure.   Rule  41(b)             provides in relevant part as follows:                            Involuntary Dismissal:  Effect                            Involuntary Dismissal:  Effect                            Thereof.  For  failure of  the                            Thereof.                            plaintiff  to prosecute  or to                            comply with these rules or any                            order  of  court, a  defendant                            may move for  dismissal of  an                            action or of any claim against                            the  defendant.    Unless  the                            court   in   its   order   for                            dismissal otherwise specifies,                            a    dismissal   under    this                            subdivision and  any dismissal                            not provided for in this rule,                            other  than  a  dismissal  for                            lack   of  jurisdiction,   for                                              ____________________                            products)    that,   plaintiff                            claims,  caused  his   injury.                            Without  these  facts  in  the                            complaint,    defendants   are                            helpless    to    answer    or                            otherwise   respond    to   it                            intelligently.     The   Court                            recognizes    that    asbestos                            litigation  is different  from                            most other federal litigation,                            but  it  still is  litigation,                            subject to  the Federal Rules.                            Additionally,   the  plaintiff                            must properly plead  proximate                            cause, injury, and damage.             Aaberg, 152 F.R.D. at 501.             ______                                         -15-                                         -15-                            improper venue, or for failure                            to join a party under Rule 19,                            operates  as  an  adjudication                            upon the merits.             Fed. R. Civ. P. 41(b).                         A district court's  "choice of  remedy under  Rule             41(b) is reviewable only for abuse of discretion."  Figueroa                                                                 ________             Ruiz v. Alegria, 896  F.2d 645, 647 (1st Cir. 1990).   Under             _______________             this standard, we have  affirmed dismissal with prejudice in             circumstances much  like those presented here.   In Figueroa                                                                 ________             Ruiz, for example, we  affirmed dismissal of an  action with             ____             prejudice  where  plaintiffs  filed  a  deficient complaint,             failed  to respond  to  motions to  dismiss,  and failed  to             comply with a court order calling for explication of factual             underpinnings of various RICO claims.                           This Court has made  clear that a district court's             choice of sanctions for failure to comply with a court order             or the  Federal  Rules will  not be  lightly disturbed  upon             appeal.    See, e.g.,  Kuehl v.  F.D.I.C.,  8 F.3d  905 (1st                        ___  ____   __________________             Cir. 1993), cert. denied,  114 S. Ct. 1545  (1994)(affirming                         _____ ______             dismissal with  prejudice  based on  plaintiffs' failure  to             remedy Fed. R. Civ. P.  8(a) violations in amended complaint             where magistrate  had pointed  out  deficiencies in  initial             complaint and provided direction  to plaintiffs about how to                                         -16-                                         -16-             correct the mistakes); see also HMG Property Investors, Inc.                                    ___ ____ ____________________________             v. Parque Industrial Rio Canas, Inc., 847 F.2d 908, 918 (1st             ____________________________________             Cir. 1988)("where a non-compliant  litigant has manifested a             disregard  for  orders  of   the  court  and  been  suitably             forewarned of the consequences of continued intransigence, a             trial judge  need not first exhaust  milder sanctions before             resorting to dismissal [with prejudice]").                        When  the  court  entered  the  January  Order  of             dismissal  in  this  case, it  was  faced  with  a deficient             Complaint that  Appellants had  refused to remedy  despite a             court order  to do so.   The October Order  was issued after                                                                    _____             Appellants'  counsel  had  objected  to  a  tentative  order             dismissing the  Complaint without  prejudice.  Not  only did             Appellants'  counsel  make  no  effort to  comply  with  the             October  Order, but  he made  no attempt  to object  to that             Order by  filing a  motion for reconsideration  showing good             cause why it should be vacated or amended.                         The court was also confronted with an attorney who             erroneously insisted that  he was not  bound by Local  Rules             and that federal  courts are mere conduits for  the transfer             of                                          -17-                                         -17-             asbestos-related   cases  by  the  MDL  Panel.7    Counsel's             disregard of Local Rules was further reflected by his filing             of  a  motion  for  extension of  time  without  making  and             certifying service on opposing counsel.  In addition, during             the  four  to  five  months that  the  action  was  pending,             Appellants never responded to some twenty motions to dismiss             filed by individual Appellees.                        We have earlier noted that:                                              ____________________                  7This representation  by counsel to the  district court             judge was clearly mistaken and directly contradicts the very             MDL rules  that he  cites.   At the time  of the  October 27             show-cause hearing,  Appellants' case  was the subject  of a             conditional transfer order  issued by the  MDL Panel.   Rule             18, of  the Rules of Procedure governing cases tranferred by             the MDL Panel, provides in relevant part that:                            The  pendency   of  a  motion,                            order    to     show    cause,                            conditional transfer order  or                            __________________________                            conditional    remand    order                            before  the  Panel  concerning                            transfer   or  remand   of  an                            action  pursuant to  28 U.S.C.                              1407  does   not  affect  or                                    ______________________                            suspend  orders  and  pretrial                            ______________________________                            proceedings  in  the  district                            ______________________________                            court in which  the action  is                            ______________________________                            pending  and  does not  in any                            ______________________________                            way    limit   the    pretrial                            ______________________________                            jurisdiction of that court.                            __________________________             Rules of  Procedure of  the Judicial Panel  on Multidistrict             Litigation, 147  F.R.D.  589, 601  (J.P.M.L.  1993)(emphasis             added).                                          -18-                                         -18-                            Courts   cannot   function  if                            litigants may,  with impunity,                            disobey lawful orders.  It has                            long   been   the  rule   that                            federal courts possess plenary                            authority `to manage their own                            affairs so as  to achieve  the                            orderly     and    expeditious                            disposition  of cases.'   Link                                                      ____                            v.  Wabash  R.  Co., 370  U.S.                            ___________________                            626,   630-31  (1962)(footnote                            omitted).    Though a  federal                            court  may dismiss  claims sua                                                       ___                            sponte for  proper cause, id.,                            ______                    ___                            at 630-31, that inherent power                            has been augmented [by Fed. R.                            Civ. P. 41(b)].             HMG Property Investors, Inc.,  847 F.2d at 916.   Faced with             ____________________________             an unmanageable  Complaint, the  court issued an  order that             would have  enabled Appellants'  claims to  go forward  in a             form  in which  settlement  or trial  of meritorious  claims             would have  been possible.   Counsel  failed to  comply with             this order, defied Local Rules, and neglected to  respond to             motions  filed by  opposing counsel.   The  record indicates             that counsel's behavior was extreme, "of a deliberate rather             than inadvertent nature,"   Figueroa Ruiz, 896 F.2d at  648,                                         _____________             and  could  "reasonably be  construed  as  an indication  of             `plaintiffs' lack of interest in vindicating whatever rights             they  might have  had.'".   Id. (citing  Zavala Santiago  v.                                         ___          ___________________             Gonzalez  Rivera, 553  F.2d 710, 712  (1st Cir. 1977)).   In             ________________             these circumstances, we  can find no abuse  of discretion in                                         -19-                                         -19-             the district court's dismissal of Appellants' Complaint with             prejudice.   Thejudgment  of  the district  court is  hereby             AFFIRMED.                                          -20-                                         -20-

